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                     EXHIBIT B
         Case 1:03-cr-00234-JDB-DAR Document 105-1 Filed 03/18/22 Page 2 of 4
  BOP4D 540*23 *               SENTENCE MONITORING                 *     02-15-2022
PAGE 001       *                 COMPUTATION DATA                  *     13:17:47
                                 AS OF 02-15-2022

REGNO..: 31043-007 NAME: EDWARDS, JAMES W


FBI NO...........:                              DATE OF BIRTH:                AGE:   40
ARS1.............: BEC/A-DES
UNIT.............: PINE                         QUARTERS.....: P03-311U
DETAINERS........: NO                           NOTIFICATIONS: NO

FSA ELIGIBILITY STATUS IS: INELIGIBLE

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.

HOME DETENTION ELIGIBILITY DATE....: 06-04-2024

THE INMATE IS PROJECTED FOR RELEASE: 12-04-2024 VIA GCT REL


----------------------CURRENT JUDGMENT/WARRANT NO: 040 ------------------------

COURT OF JURISDICTION...........:    DIST OF COLUMBIA, SUPERIOR CRT
DOCKET NUMBER...................:    2010 CF3 007524
JUDGE...........................:    KEARY
DATE SENTENCED/PROBATION IMPOSED:    11-15-2010
DATE COMMITTED..................:    05-04-2011
HOW COMMITTED...................:    DC SUPERIOR COURT COMT
PROBATION IMPOSED...............:    NO

                  FELONY ASSESS    MISDMNR ASSESS FINES              COSTS
NON-COMMITTED.:   $00.00           $00.00         $00.00            $300.00

RESTITUTION...:   PROPERTY:   NO   SERVICES:   NO        AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 644      DC ROB/THEFT ROBBERY             FSA INELIGIBLE
OFF/CHG: 22-2801;ROBBERY W/ARMED(INOPERABLE GUN), 22-401;ASSAULT W/I
         TO COMMIT ROBBERY, 22-801;BURGLARY 1 W/ARMED (GUN)

 SENTENCE PROCEDURE.............: DC SRAA ADULT SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:   168 MONTHS
 TERM OF SUPERVISION............:     5 YEARS
 DATE OF OFFENSE................: 04-28-2010




G0002       MORE PAGES TO FOLLOW . . .
         Case 1:03-cr-00234-JDB-DAR Document 105-1 Filed 03/18/22 Page 3 of 4
  BOP4D 540*23 *               SENTENCE MONITORING                *     02-15-2022
PAGE 002       *                 COMPUTATION DATA                 *     13:17:47
                                 AS OF 02-15-2022

REGNO..: 31043-007 NAME: EDWARDS, JAMES W



----------------------CURRENT JUDGMENT/WARRANT NO: 050 ------------------------

COURT OF JURISDICTION...........:    DIST OF COLUMBIA, DISTRICT CRT
DOCKET NUMBER...................:    CR 03-234
JUDGE...........................:    BATES
DATE SENTENCED/PROBATION IMPOSED:    04-13-2004
DATE SUPERVISION REVOKED........:    03-21-2011
TYPE OF SUPERVISION REVOKED.....:    REG
DATE COMMITTED..................:    05-04-2011
HOW COMMITTED...................:    COMMIT OF SUPERVISED REL VIOL
PROBATION IMPOSED...............:    NO

                  FELONY ASSESS    MISDMNR ASSESS FINES             COSTS
NON-COMMITTED.:   $100.00          $00.00         $00.00           $00.00

RESTITUTION...:   PROPERTY:   NO   SERVICES:   NO       AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 384      21:841 SCHIII NON-NARCOTIC
OFF/CHG: T21:841(A)(1) AND 841(B)(1)(C) UNLAWFUL POSSESSION WITH INTENT
         TO DISTRIBUTE PHENCYCLIDINE

 SENTENCE PROCEDURE.............: SUPERVISED RELEASE VIOLATION PLRA
 SENTENCE IMPOSED/TIME TO SERVE.:    26 MONTHS
 CLASS OF OFFENSE...............: CLASS C FELONY
 DATE OF OFFENSE................: 05-08-2003




G0002       MORE PAGES TO FOLLOW . . .
         Case 1:03-cr-00234-JDB-DAR Document 105-1 Filed 03/18/22 Page 4 of 4
  BOP4D 540*23 *             SENTENCE MONITORING                *      02-15-2022
PAGE 003 OF 003 *              COMPUTATION DATA                 *      13:17:47
                               AS OF 02-15-2022

REGNO..: 31043-007 NAME: EDWARDS, JAMES W


-------------------------CURRENT COMPUTATION NO: 030 --------------------------

COMPUTATION 030 WAS LAST UPDATED ON 12-17-2020 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 05-05-2016 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 030: 040 010, 050 010

DATE COMPUTATION BEGAN..........: 11-15-2010
AGGREGATED SENTENCE PROCEDURE...: PLRA / DC SRAA ADULT AGGREGATE SENTENCE
TOTAL TERM IN EFFECT............:   194 MONTHS
TOTAL TERM IN EFFECT CONVERTED..:    16 YEARS      2 MONTHS
AGGREGATED TERM OF SUPERVISION..:     5 YEARS
EARLIEST DATE OF OFFENSE........: 05-08-2003

JAIL CREDIT.....................:     FROM DATE    THRU DATE
                                      04-28-2010   11-14-2010

TOTAL PRIOR CREDIT TIME.........:   201
TOTAL INOPERATIVE TIME..........:   0
TOTAL GCT EARNED AND PROJECTED..:   570
TOTAL GCT EARNED................:   291
STATUTORY RELEASE DATE PROJECTED:   12-04-2024
ELDERLY OFFENDER TWO THIRDS DATE:   02-05-2021
EXPIRATION FULL TERM DATE.......:   06-27-2026
TIME SERVED.....................:       11 YEARS    9 MONTHS        19 DAYS
PERCENTAGE OF FULL TERM SERVED..:     73.0
PERCENT OF STATUTORY TERM SERVED:     80.8

PROJECTED SATISFACTION DATE.....: 12-04-2024
PROJECTED SATISFACTION METHOD...: GCT REL

REMARKS.......: 1-16-18 GCT 68D A/EMR.10-1-18: GCT UPDT. A/ELW
                01/07/2020 GCT UPDATED PURSUANT TO FSA A/JRM
                12-17-20: GCT UPDT. A/MLM;




G0000       TRANSACTION SUCCESSFULLY COMPLETED
